
695 S.E.2d 755 (2010)
BOSEMAN
v.
JARRELL.
No. 416PA08-2.
Supreme Court of North Carolina.
April 14, 2010.
John M. Martin, Winterville, for Melissa Ann Jarrell.
James W. Lea, III, Wilmington, for Julia Catherine Boseman.
Mabel Y. Bullock, Special Deputy Attorney General, for NCDHHS.
Jill S. Jackson, Raleigh, for Amicus.
Nathalie F.P. Gilfoyle, for American Psychological Asso.
Cathy C. Hunt, Raleigh, for Evan B. Donaldson Adoption Inst., et al.
Kenneth Broun, for Law Professors.
Ellen W. Gerber, for NC Asso. of Women Attorneys.
Bradley R. Kutrow, Charlotte, Monica E. Webb, Raleigh, Carmine D. Boccuzzi, New York City, for NC Chapter of American Academy of Pediatrics.
Jonathan D. Sasser, Raleigh, for. American Civil Liberties Union, et al.
Keith Alan Williams, Greenville, Austin R. Nimocks, Biloxi, MS, for Family Research Council.
Julie T. Flood, Lloyd T. Kelso, Gastonia, Deborah J. Dewart, for American College of Pediatricians, et al.
The following order has been entered on the motion filed on the 14th of April 2010 by Family Research Council for leave to file Amicus Curiae Brief.
"Motion Allowed by order of the Court in conference this the 14th of April 2010."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
